EXHIBIT A
                               SETTLEMENT AGREEMENT
       THIS SETTLEMENT AGREEMENT is entered into by the Plaintiffs
identified below and Defendants Benton County and Chelan County in settlement
of Reyes v. Chilton, et al, No. 4:21-cv-05075-MKD (“the Lawsuit”).
         A.        IDENTITY OF PARTIES
                   1.   Plaintiffs

                        i.     Jesse Reyes
                        ii.    Daniel Reynoso

                        iii.   League of United Latin American Voters (“LULAC”)
                        iv.    Latin Community Fund (“LCF”)
                   2.   Individual Defendants

      The Parties acknowledge that certain officials named in this action as
defendants have left office since the Lawsuit began, and therefore their successors
automatically assumed their role in the litigation. The individual defendants listed
below reflect the current persons holding office:

                        i.     Brenda Chilton, in her official capacity as Benton County
                               Auditor and Canvassing Review Board Member

                        ii.    Eric Eisinger, in his official capacity as Benton County
                               Prosecutor and Canvassing Review Board
                        iii.   Jerome Delvin, in his official capacity as Benton County
                               Canvassing Review Member

                        iv.    Skip Moore, in his official capacity as Chelan County
                               Auditor and Canvassing Review Board Member
                        v.     Robert Sealby, in his official capacity as Chelan County
                               Prosecutor and Canvassing Review Board Member

                        vi.    Tiffany Gering, in her official capacity as Chelan County
                               Canvassing Board Member

                   3.   Defendants In Interest
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      The Individual Defendants have been named in this Lawsuit in their official
capacities. Accordingly, the Parties agree that the defendants in interest are Benton
County and Chelan County (individually “Defendant County” or collectively the
“Defendant Counties”).

                   4.   Parties

       Individually, each Plaintiff and Defendants Benton County and Chelan
County constitute a Party to this Settlement Agreement (“Agreement”). Together,
the Plaintiffs and Defendant Counties constitute the Parties to the Agreement.
Individual Defendants Brenda Chilton and Skip Moore, in their capacities as
independently elected county officials, are also signatories to this Agreement in
order to effect certain of the settlement terms specified in Section C.

         B.        RECITALS
             1.   Plaintiffs filed their Second Amended Complaint against
Defendant Counties in the Eastern District of Washington, No. 4:21-CV-05075-
MKD, alleging certain violations of the Voting Rights Act, 42 U.S.C. §§ 1983 and
1988, and the First, Fourteenth, and Fifteenth Amendments of the United States
Constitution, and seeking declaratory and injunctive relief regarding Defendant
Counties’ application of Washington’s signature verification statutes, RCW
29A.40.110(3) and RCW 29A.60.165(2).

             2.     Defendant Counties deny that their application of the signature
verification statutes violates the Voting Rights Act or the Constitution, and
disclaim any liability under the claims made in the Lawsuit.

           3.      On July 17, 2023, the Parties engaged in mediation with Judge
Alexander C. Ekstrom of the Eastern District of Washington. After mediation
concluded with Judge Ekstrom, the Parties continued discussions and reached an
agreement in principle to settle all claims and causes of action related to the
Lawsuit upon the terms and conditions described in this agreement.
             4.    The Parties notified Judge Dimke of their agreement in
principle on August 9, 2023, and stated that they expected to file a stipulated
dismissal with prejudice as to Defendant Counties within 30 days.
         C.        SETTLEMENT TERMS

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      In consideration of the Plaintiffs dismissing with prejudice the Lawsuit
against Defendant Counties,

             1.     Defendants Chilton and Moore will require signature
verification training for county auditor election staff, alternates, and designees
every two years. Defendants Chilton and Moore will require their county auditor
election staff to receive training before participating in the signature verification
process. The training may be offered by the State of Washington, a private entity,
or by documented internal county-provided training.
           2.     Defendants Chilton and Moore shall require                  cultural
competency training for county auditor election staff every two years.

               3.     Defendants Chilton and Moore shall require their respective
county ballot materials to include an insert or language on the ballot security sleeve
that describes the signature verification requirement and cure process. The insert or
ballot sleeve will also include language that points voters to VoteWA’s available
processes for checking the status of ballots. The Parties acknowledge that
Defendant Counties have already submitted their ballot materials through the
November 2023 general election. This provision therefore will not go into effect
until the first election to occur in 2024. Plaintiffs acknowledge that Brenda Chilton
and Skip Moore will comply with this provision to the extent the terms do not
conflict with any future requirements set by the State of Washington or Secretary
of State for ballot materials.
              4.    Each Defendant County website should describe the signature
verification requirement and cure process as Benton County currently does.

            5.    Each Defendant County website should include links to
Spanish-language voter registration form and signature update forms.
             6.    Defendants Chilton and Moore shall require the signature
update form used by their election offices to include the following language: “We
want to make sure we count your vote. We received your ballot and determined
that the signature does not match the signature on the registration file. Please
complete and return this form to update your signature on file with the County.”
Defendants Chilton and Moore will require that the signature update form be
provided in English and Spanish. Plaintiffs acknowledge that Brenda Chilton and
Skip Moore will comply with this provision to the extent the terms do not conflict

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with any future requirements set by the State of Washington or Secretary of State
regarding required language on the signature update form.

             7.    Within one week of the effective date of this Agreement or
earlier, Defendant Counties will pay $150,000 to Plaintiffs for their attorneys’ fees
and costs.

              8.     Within one week of the effective date of this Agreement or
earlier, Plaintiffs will dismiss the Lawsuit against each Defendant County with
prejudice. Plaintiffs will not seek additional attorneys’ fees or costs against
Defendant Counties for settling this action.
         D.        OTHER TERMS AND CONDITIONS
             1.     No Admission of Liability. Defendant Counties deny liability
for any and all claims and allegations made in connection with the Lawsuit. The
Parties to this Agreement understand that, by execution of this Agreement,
Defendant Counties do not acknowledge or admit to any liability, culpability or
responsibility for any acts or omissions concerning the subject matter of the
Lawsuit, and that this Agreement is entered into solely for the purpose of resolving
the dispute without resort to further litigation and is in no way to be construed as,
and is in fact not, an admission or agreement as to liability or responsibility by
Defendant Counties for any claims, harms or damages alleged by Plaintiffs.

              2.     Governing Law. This Agreement shall be governed by,
construed, and enforced in accordance with the laws of the State of Washington in
effect as of the effective date of the Agreement and according to its fair meaning as
though prepared by all Parties.
             3.    Warranty of Authority to Settle. Each of the undersigned has
entered into this Agreement voluntarily and not in reliance upon any covenant,
representation, warranty, consideration, or inducement not expressly recited herein.
Each of the individuals signing this Agreement on behalf of a Party warrants that
they have the authority to sign the Agreement and therefore bind the Party on
whose behalf they sign.

              4.    Voluntary Agreement. The Parties represent and declare that
they have read and fully understand the terms of this Agreement and its
consequences have been completely explained to them by their legal counsel, and
they are freely and voluntarily signing this Agreement.
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              5.    Parties Bound. This Agreement shall benefit, and be binding
on, the heirs, successors and assigns of the Parties.
            6.    Amendment. This Agreement may be amended only in writing,
mutually executed by all Parties (or their successors-in-interest at the time of the
modification).
              7.    Integration. This written Agreement contains the entire
understanding between the Parties in connection with the subject matter, and it
supersedes and replaces all prior negotiations, agreements or representations,
whether oral or written. Each party acknowledges that no other party, or any agent
or attorney of any party, has made any promise, representation or warranty
whatsoever, expressed or implied, not contained herein, concerning the subject
matter hereof, to induce it to execute this Agreement, and each party acknowledges
that it has not executed this document in reliance on any promise, representation or
warranty not contained herein.

              8.    Partial Invalidity. If any provision or any party of any provision
of this Agreement is for any reason deemed invalid, unenforceable, or contrary to
public policy, law, statute and/or regulation, then the remainder of this Agreement
shall not be affected thereby and shall remain valid and fully enforceable.
             9.     No Construction against Author. This Agreement shall be
construed without regard to the person or entity who drafted it, as if all Parties had
participated equally in its drafting.
            10. Multiple Copies and Facsimile Signatures. This document may
be executed in counterparts. Each party may sign an individual signature page.
PDFs, electronic signatures, facsimile documents and signature pages shall be
tantamount to originals in every respect.
              11. Effective Date. This Agreement shall be effective when all
Parties to the Agreement have affixed their signature to the document and upon the
last date signed.

Signatures Pages To Follow




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JESSE REYES
By:

Date:



DANIEL REYNOSO

By:

Date:



LEAGUE OF UNITED LATIN
AMERICAN VOTERS

By:

Date:



LATINO COMMUNITY FUND

By:

Date:



BENTON COUNTY BOARD OF
COMMISSIONERS
By:

Date:




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JESSE REYES

By:

Date:



DANIEL REYNOSO

By:

Date:



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            JESSE REYES

            By:

            Date:



            DANIEL REYNOSO

            By:

            Date:



            LEAGUE OF UNITED LATIN
            AMERICAN VOTERS

            By:

            Date:



            LATINO COMMUNITY FUND

            By:

            Date:
                        09 / 11 / 2023



            BENTON COUNTY BOARD OF
            COMMISSIONERS
            By:

            Date:




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